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iN THE UNITED sTATEs DisTRICT CoURT
FoR THE WEsTERN DISTRICT oF TENNESSEE '“"’i<~`@ § -~ "
EASTERN DWIsIoN “”

BOBBY TART and Wife, LORRETTA TART, )

 

lndividually and ESTATE OF ROBERT WALTER ) 8.' /3

TART, by Personal Representatives Bobby Tart and ) ,»U

Loretta Tart f f"" ;» aj
Piaimiff(s) ' <"4¢,/;<3@? , /‘

v. No: 1-05-1056- T/An
JOHN DOES CORRECTIONAL OFFICERS,
JANE DOES CORRECTIONAL OFFICERS,
BENDELL BARTHOLOMEW, CARROLL

COUNTY SHERIFF, STEPHEN UNDERWOOD, )
CARROLL COUNTY JAILER, TERRY DICKEY, )

)
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)
)
)
)

CHIEF DEPUTY, TOMMY DECANTES, )
lndividually and in their official capacity; and )
CARROLL COUNTY SHERIFF’S OFFICE AND )
CARROLL COUNTY, TENNESSEE )

Defendants )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference set by written notice, the following dates are established as the
final dates for:

INITIAL DISCLOSURES (RULE 26(3)(] )):
Have been previously exchanged by the parties

JOINING PARTIES:
For Plaintiff: September 29, 2005
For Defendant: October 29, 2005
AMENDING PLEADINGS
For Plaintiff: September 29, 2005
For Defendant: October 29, 2005

COMPLETING ALL DISCOVERY: March 29, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

FOR ADMISSIONS: March 29, 2006
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(b) EXPERT DISCLOSURE (RULE 26(a)(2)):

(i) Plaintiff` s Experts: January 29, 2006
(ii) Defendant’s Experts: March l, 2006
(iii) Supplementation under Rule 26(e)(2): March 10, 2006

(c) DEPOSITIONS OF EXPERTS: March 29, 2006

FILING DISPOSITIVE MOTIONS: March 7, 2006

FINAL LIST OF WTINESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: April 24, 2006
(b) for Defendant: May 8, 2006

Parties shall have § days after service of final lists of witnesses and exhibits to file objections
under Rule 26 (a)(3).

The trial of this matter is expected to last three (3) days and is SET for JURY TRIAL on
Wednesday, June 7, 2006_at 9:30 A.M. A joint pre-trial order is due on Friday, May 26, 2006. ln the
event the parties are unable to agree on a joint pre-trial order, the parties must notify the court at least ten
days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery For example, if the FRCP allow 30 days for a party to respond, then the discovery must be

submitted at least 30 days prior to the deadline for completion of discoveryl

Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days
of the default or service of the response, answer, or objection Which is the subject of the motion if the
default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is

extended for good cause shown, or any objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)( l )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a

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The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall
file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a

reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally
provide the parties with a definite trial date that will not be continued unless a continuance is agreed to by

all parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on

or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good

cause shown, the scheduling dates set by this Order will not be modified or extended.

IT lS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: Q£l/Z'\ /7 2005-1
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Nashville, TN 37201

Attomeys for Plaintiffs

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CV-01056 was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

